l
Case 3:05-cr-30058-RWZ Document 81 Filed 01/23/2008 Page 1 of 9

QAO 24SB(US-MA) (Rev. 06/05) Judgment in a Crimjnal Case
Sheet 1 - D. Massachusetts - 10/05

 

UNITED STATES DISTRICT COURT
Disti'ict of Massachusetts

UN[TED STATES OF AMERICA AMENDED JUDGMENT IN A CIEHMINAL CASE
V.
CANDACE MATEO Case Number: 3: 05 CR 30058 - 2 ~ RWZ

USM Number: 90894-038
Joseph D. Bei'iiard, Esquire

 

 

 

 

D f d t’ Att
c an an S may E` Additicnal documents attached
THE DEFENDANT:
pleaded guilty to count(s) 1 & 2
pleaded nolo contendere to count(s)
Whicli Was accepted by the couz't.
l:l was found guilty on count(s)
after a plea of not guilty
The defendant is adjudicated guilty of these offenses: f Additional Cou-nts - See continuation page |___]
Title & Section Nature of Offense Oft`ense ]Ende_d Count
21USC§846 Conspiracy to Possess With Intent to Distribute Cocaine Base 05/25/05 1
21USC§841 Possession with intent iii nisin'buie cocaine ease 05/25/05 2

The defendant is sentenced as provided iii pages 2 through 9 of this judgment The sentence is imposed pursuant to
the Sentencing Refoz'm Act of 1984.

[:| The defendant has been found not guilty on oount(s)

 

|:| Count(s) I:| is m are dismissed on the motion ofthe United States.

_ _ lt is ordered t_hat the defendant _must notify the United States attorney for this district Within 30 days of any chan e of name, residence,
or mailing address until_ all fines, restitution, costs, and special assessments imposed t_iy this judgment are fu ly paid. lf ord§red to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances

01/]6/03

dowd

Signatui'e udge
The orable Rya W. Zobel

Judge, U.S. District C'ourt
Name and Tit§e of lodge

\M~\-M~'\ 23,, zwd>

Date d

 

 

Case 3:05-cr-30058-RWZ Document 81 Filed 01/23/2008 Page 2 of 9

%AO 245B(05-MA] (Rev. 06/05} Judginent in a Crinu`iiai Case
Sheet 2 - D. Massachusetts - 10/05

' J d Wl> 2 f
DEFENDANT_. CANDACE MATEO 11 amant age ___ o

CASE NUMBER: 3: 05 CR 30058 - 2 ~ RWZ

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of: 24 month($)

l::| The court makes the following recommendations to the Bureau of Prisons:

The defendant is remanded to the custody of the United States Marshal.

|:| The defendant shall surrender to the United States Marshal for this district:

|:] at i:| a.m. I:] p.m. on
|:|as notified by the United States Marshal.

 

|::I The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

|:]before 2 p.m. on
\:ias notified by the United States Marshal.

 

[] as notified by the Probation or Pretrial Services Office.

 

 

 

RETURN
l have executed this judgment as foilows:
Defendant delivered on to
a , with a certified copy of this judgment
UNlTED STA'I`ES MARSHAL
By

 

DEPU`}`Y UNITED STATES MARSHAL

Case 3:05-cr-30058-RWZ Document 81 Filed 01/23/2008 Page 3 of 9

§AO 245B(05~MA) (Rcv. 06.’05) Judgnient in a Crirnjnal Case
Sheet 3 - D. Massachusetts - 10/05

 

Judgment~Page 3 of 9

CASE NUMBER: 32 05 CR 30058 - 2 - RWZ
SUPERVISED RELEASE E See continuation page
Upon release from imprisonment, the defendant shall be on supervised release for a term of x 48 monih($)

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau ofPrisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfull possess a controlled substance The defendant shal_l refrain from any unlawful use of a controlled
substance. The defendant shall su}bmit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, not to exceed 104 tests per year, as directed by the probation officer.

The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
future substance abuse. (Check, if applicable.)

The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable,)
The defendant shall cooperate iii the collection ofDNA as directed by the probation officer. (Check, if applicable.)

l`he defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
student, as directed by the probation officer. (Check, if applicable.)

|:||:|HHH

The defendant shall participate in an approved program for domestic violence (Checl<, if applicable.)

lf this `tidgrnent imposes a fine or restitution, it is a condition of supervised release that the defendant pay iii accordance with the
Schedule o Payments sheet of this judgment

The defendant must comply with the standard conditions that have been adopted by this court as weil as with any additional conditions
on the attached page.

STAN])AR]) CON])ITIONS OF SUPERVISION

l) the defendant shall not leave the judicial district without the permission of the court or probation officer;

2) the ldefendt}i;.nt shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
eac irion ; '

3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4) the defendant shall support his or her dependents and meet other family responsibilities;

5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
acceptable reasons;

6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
controlled substance or any paraphemalia related to any controlled substances, except as prescribed by a physician;

8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

9) the defendant shall not associate with any persons en aged in criminal activity and shall not associate with any person convicted of a
felony, unless granted permission to do so by the pro ation officer;

10) the defendant shall permit a_ probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
contraband observed in plain view of the probation officer;

l l) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;

12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
permission of the court; and

13) as directed by the ro_bation officer, the defendant shall notify_third parties of risks that may be occasioned by the defendant’ s criminal
record or erson _hlstory_ or characteristics and shall permit the probation officer to make such notifications and to confirm the
defendant s compliance with such medication requirement

 

Case 3:05-cr-30058-RWZ Document 81 Filed 01/23/2008 Page 4 of 9

H.AO 245B(05-MA) (Rev. 06/05) .Tudgmeut in a Criminal Case
Sheet 5 - D. Massachusetts - lO/DS

ludgment w Page 4 of 9

 

DEFENDANT: CANl)ACE MATEO
CASE NUMBER; 3: 05 CR 30058 - 2 -RWZ
CRIMINAL MON'ETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment Fiiie Restitufio_n_
TOTALS S $200.®0 $ $
|:] The determination of restitution is deferred until . An Amended Judgmenr in a Cri'mi`iial Case (A¢O 245C) will be entered

after such determination
g The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment_. each payee shall receive an approximatelylproportioned ayrnent, unless specified otherwise in
the priority order or percentage payment column elow. However, pursuant to 18 .S. . § 3664 i), all nonfederal victims must be paid
before the United States is paid.

Name of Payee d Total Loss* Restitution Ordered Piriority or Percentage
l:| See Continuation
Page
TOTALS s $0.00 s $0.00

|:| Restitution amount ordered pursuant to plea agreement $

m The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

l:] The court determined that the defendant does not have the ability to pay interest and it is ordered that:
\:l the interest requirement is waived for the m fine |:| restitution

|:] the interest requirement for the l:| fine |:] restitution is modified as follows:

* Findings for the total amount of losses are re uired under Cha ters 109A, 1 lO, 1 IOA, and llSA ofTitle 18 fo offe ` d
September 13, 1994, but before April 23', 199%. p r uses commer en cr after

Case 3:05-cr-30058-RWZ Document 81 Filed 01/23/2008 Page 5 of 9

§AO 24SB(OS-MA) (Rev. 06/05) Judgrnent in a Criminal Case
Sheet 6 - D. Massachusetts - lO/OS

.ludgment_Pag@ 5 Of __9_"_
DEFENDANT; CA_NDACE MATEO
CASE NUMBER: 3: 05 CR 30058 - 2 _ RWZ _"_

SCHEDULE OF PAYMEN',|[`S

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as folloWs:

A Lump sum payment of $ $2`90‘00 due immediately, balance due

l_____| not later than

, or
|:l in accordance m C, |:| D, |:| E, or [:| F below; or
Payrnent to begin immediately (may be combined With m C, |:I D, or |:| F below); or

Payrnent in equal (e.g., Weekly, monthly, quarterly) installments of $ ______ over a period of
(e,g., months or years), to commence (e.g., 30 or 60 days) after the date of this j=udgment; or

Payment in equal (e.g., Weel<ly, monthly, quarterly) installments of $ over a period of

(e.g., months or years), to commence (e.g., 30 or 60 days) after release from imprisonment to a
term of supervision; or

Payment during the term of supervised release will commence Within (e.g., 30 or 60 days) after release from
imprisonment The court Will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

l:l[] El:|l:l

Special instructions regarding the payment of criminal monetary penalties:

Unless the court has expressl ordered othervi`ris.e, if this judgment imposes imprisonment, a£iiient of criminal monetary penalties is due duriii
imprisonment All crimina moneta penalties, except ose payments made throu e Federa[ Bureau of Prisons’ inmate Financia
Responsibllity Prograrn, are made to e clerk of the court

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

|:| 50th and Several m See Contuiuation
Page

Defendant and Co-Defendant Names and Case Numbers (includ`ing defendant number), Total Arno\unt, lloth and Several Amount,
and corresponding payee, if appropriate

|:| The defendant shall pay the cost of prosecution
|:| The defendant shall pay the following court cost(s):

\:| The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payment_;s shall be applied in _the following order: (l? assessment (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) pena ties, and (8) costs, including cost of prosecution and court costs.

Case 3:05-cr-30058-RWZ Document 81 Filed 01/23/2008 Page 6 of 9

AO 245B (Rev. 06/05) Criminal Judginent

Attachment (Page l)- Statement of Reasons - D. Massachusetts - 10/05

DEFENDANT; CANDACE MATEO Judament-Paae a or 9
CASE NUMBER: 3: 05 CR 30058 - 2 - RWZ
DISTRICT‘ MASSACHUSETTS

I

II

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STATEMENT OF REASONS

COURT FINDINGS ON PRESENTENCE INVESTIGATION REPORT

A EI( The court adopts the presentence investigation report Without change

B g The court adopts the presentence investigation report with the following changes.

(Check all that apply and specify court determination findings, or comments, referencing paragraph numbers in the presentence report, if applicable.)
(Use Section VIII if necessal'y.}

l l:l Chapte‘r Two of the U.S.S.G. Manual determinations by court (includi_ng changes to base cffcl'lsc levcl, Ol'
specific offense characteristics):

2 E Chaptcr Three of the U.S.S.G. Manual determinations by court (including changes to victim-related adjustments,
role in the oifense, obstruction ofjustice, multiple counts, or acceptance of responsibility):

3 [:] Chapter Four of the U.S.S.G. Manual determinations by court (including changes to criminal history category or
scores, career offender, or criminal livelihood determinations):

4 ij Additionai Comments or Findings (including comments or factual findings concerning certain information in the

presentence report that the Federal Bureau of Prisons may rely on when it makes inmate classification, designation,
or programming decisions):

C l:l The record establishes no need for a presentence investigation report pursuant to Fed.R.Crim.P. 32..

COURT FINDING ON MANDATORY MINIMUM SENTENCE (Chccl< all that apply.}
A \:i No count of conviction carries a mandatory minimum sentence

B ij Ma.ndatory minimum sentence imposed

C ij One or more counts of conviction alleged in the indictment carry a mandatory minimum term of imprisonment but the
sentence imposed is below a mandatory minimum term because the court has determined that the mandatory minimum
does not apply based on
:I findings of fact in this case
il substantial assistance (isU.s.c. § 3553(@))

E the statutory safety valve (lS U.S.C. § 3553(f))

COURT DETERMINATION OF ADVISORY GUIDELINE RANGE (BEFOR]E DEPARTURES):'

total offense Levei: 27

Criminal History Category: n

Imprisonment Range: 73 to 37 months
Supervised Release Range: 4 to years
Fine Range: $ l2.500 to $ 4_000_000

[;Z Fine vvaived or below the guideline range because of inability to pay.

Case 3:05-cr-30058-RWZ Document 81 Filed 01/23/2008 Page 7 of 9

AO 245B (05-MA} (Rev. 06/05) Criminal Judg;ment 4
Artachrnent (Page 2) 4 Statement of Reasons - D. Massachusetts » 10/05

ludgment-~Page 7 of 9

DEFENDANT: CANl)ACE MATEO g
CASE NUMBER; 3: 05 CR 30058 - 2 - RWZ
DISTRICT= MASSACHUSETTS
STATEMEN']_` OF REASONS

IV ADVISORY GUIDELINE SENTENCING DETERMINATION (Check only one.)

A I:I The sentence is within an advisory guideline range that is not greater than 24 months, and the court iinds no reason to depart

B l:l The sentence is within an advisory guideline range that is greater than 24 months, and the speciiic sentence is imposed for these reasons.

(Use Section VI|I if neeessary.)
C |:l The court departs from the advisory guideline range for reasons authorized by the sentencing guidelines manual.

(Also complete Section V)

D w The court imposed a sentence outside the advisory sentencing guideline system (Also complete Section VI.)

V DEPARTURES AUTHORIZED BY THE ADVISORY SENTENCING GUIDELINES Uf appii.cable.)

A The sentence imposed departs (Check only one.):
below the advisory guideline range
[:] above the advisory guideline range

B Departure based on (Check all that apply.):

l Plea Agreement (Check all that apply and check reason(s) below.):

SKI.l plea agreement based on the defendant’s substantial assistance

5K3.l plea agreement based on Early Disposition or “Fast-track” Program

binding plea agreement for departure accepted by the court

plea agreement for departure, which the court Hnds to be reasonable

plea agreement that states that the government will not oppose a defense departure motion.

EEEL_.||:|

2 Motion Not Addressed in a Plea Agreement (Check all that apply and check reason(s) below.):
ll 5Kl.l government motion based on the defendant’s substantial assistance
|___] 5K3.l government motion based on Early Disposition or “Fast~trac ” program
[:| government motion for departure
fl defense motion for departure to Which the government did not object
fl defense motion for departure to Which the government objected

3 Othelr
[i Other than a piea agreement or motion by the parties for departure (Check reason(s) below.):

C Reason(s) for Departure (Cheok all that apply other than 5Kl.l or 5K3.l.)

4Al.3 Criminal History inadequacy

SI-Il _l Age

SHI .2 Education and Vocational Slcills

5I-Il.3 Mental and Emotional Condition

5Hl _4 Physical Condin`on

SH l . 5 Employment Record

5H].6 Family Ties and Responsibilities

5Hl .ll Military Record, Charitable Service,
Good Works

5K2_0 Aggravating or Mingating Circumstances

5K2.l Death

5K2_2 Physicai lnjury

5K2_3 Extreme Psychological lnjury
5K2.4 Abcluction or Uniawfui Restraint
5K2.5 Property Da.mage or Loss

5K2.6 Weapon or Dangerous Weapon

5K2.1] Lesser Harrn

5K2.12 Coeroion and Duress

5K2. 13 Diminished Capacity

5-K2. 14 Public Welfare

5K2. l 6 Volun-tary Disciosure oZ'Offense
5K2. l 7 High~Capacity, Semiautomanc Weapon
5K2.] 8 Violent Street Gang

5K2.20 Aben'ant Behavior

5K2.2] Dismissed and Unchargecl Conduct
5K2.22 Age or Health of Sex Offenders
5K2.23 Discharged Ten'ns of hnprisonment
Other guideline basis (e.g., 231 .l connnentary)

5K2 7 Disruption of Govenunent Function
5K2. 8 Exn'eme Conduct
5K2_9 Criminal Purpose
5K2.]0 Vict.im’s Conduct

ft |:ll:iEE||:l|:|l:|l:|
l:l|]l:|ElE|E|:|E|D|:I
l:l|:|l:ll:||:li:|l:i|:|@ljl:l[]

D Explain the facts justifying the departure (Use Section VIII if necessary.)

Case 3:05-cr-30058-RWZ Document 81 Filed 01/23/2008 Page 8 of 9

AO 245B (OS-MA) (Rev. 06/05) Criminal Judgrnent
Atta):hrnent (Page 3) _ Statement of Reasons - D. Massachusetts 10/05

DEFENDANT: CANDACE MATEO Judgrnent_Page 8 of 9
CASE NUMBER: 3: 05 CR 30058 - 2 - RWZ
DISTRICT= MASSACHUSETTS

STATEMENT OF REASONS

VI COURT DETERMINATION FlDR SENTEN-CE OUTSIDE THE ADVISORY GUIDELINE SYSTEM
(Check all that apply.)

A The sentence imposed is (Check only one.):
l:l below the advisory guideline range
l:l above the advisory guideline range

B Sentence imposed pursuant to (Check all that apply.):

1 Plea Agreement (Check all that apply and check reason(s) below.):
l:| binding plea agreement for a sentence outside the advisory guideline system accepted by the court
l:| plea agreement for a sentence outside the advisory guideline system, Which the court finds to be reasonable
E plea agreement that states that the government will not oppose a defense motion to the court to sentence outside the advisory guideline
system

2 Motion Not Addressed in a Plea Agreement (Check all that apply and check reason(s) below.);
|:| government motion for a sentence outside of the advisory guideline system
|:| defense motion for a sentence outside of the advisory guideline system to which the government did not object
|:| defense motion for a sentence outside of the advisory guideline system to which the government objected

Other
l:l Other than a plea agreement or motion by the parties for a sentence outside of the advisory guideline system (Cheei< reason(s) below.]:

DJ

C Reason(s) for Sentence Outside the Advisory Guideline System (Checl< all that apply.)

the nature and circumstances of the offense and the history and characteristics of the defendant pursuant to 13 U.S.C. § 3553(a)(l)

to reflect the seriousness of thc offense, to promote respect for the iaw, and to provide just punishment for the offense (IS U.S.C. § 3553(a)(2)(A))
to afford adequate deterrence to criminal conduct (l 8 U.S.C. § 3553(a}(2)(B})

to protect the public from further crimes of the defendant {18 U.S.C. § 3553(a)(2}(C))

to provide the defendant With needed educational or vocational training, medical care, or other correctional treatment in the most effective manner
(18 U.S.C. § 3553(a)(2)(D))
to avoid unwarranted sentencing disparities among defendants (18 U.S.C. § 3553(a)(6))

to provide restitution to any victims of the offense (18 U.S.C. § 3553(a)(7)}

l:l[:l |:ll:||:l|_.__|§]

D Explain the facts justifying a sentence outside the advisory guideline system. (UseSection Vlll if necessary.)

Case 3:05-cr-30058-RWZ Document 81 Filed 01/23/2008 Page 9 of 9

AO 245B ( OS‘MA) {Rev. 06/05) Criminal Judgment
Attachrnent (Page 4) _ Scatement ofReasons - D. Massachusetts - lO/O§

 

DEFENDANT: CANDACE MATEO ludgrnent_Page 9 of 9
CASE NUMBER: 32 05 CR 30058 - 2 - RWZ
DISTRICTI MASSACHUSETTS

STATEMENT OF REASONS

VII COURT DETERM'INATIONS lDF RESTITUTION
A m Restitution Not Applicable.

B Total Amount of Restitution;

C Restitution not ordered (Check only one.):

l g For offenses for which restitution is otherwise mandatory under 18 U.S.C. § 3663A, restitution is not ordered because the number of
identifiable victims is so large as to make restitution impracticable under 18 U.S.C. § 3663A(c)(3){A).

2 I:I For offenses for which restitution is otherwise mandatory under 18 U.S.C. § 3663A, restitution is not ordered because determining complex
issues of fact and relating them to the cause or amount of the victims’ losses would complicate or prolong the sentencing process to a degree
that the need to provide restitution to any victim would be outweighed by the burden on the sentencing process under 18 U.S.C. § 3663A(c)(3){B).
3 g For other offenses for Which restitution is authorized under 18 U.S.C_ § 3663 and/or required by the sentencing guidelines, restitution is not
ordered because the complication and prolongation of the sentencing process resulting from the fashioning of a restitution order outweigh

the need to provide restitution to any victims under 18 U.S.C. § 3663(a)(1)(B)(ii).

4 § Restitution is not ordered for other reasons (Explain.)

D {:l Partial restitution is ordered for these reasons (18 U.S.C. § 3553(c)):

VIII ADDITIONAL FACTS JUSTIFYING 'I`HE SENTENCE IN THIS CASE (If applicable.)

Defendant provided extraordmary assistance to state prosecutors at great risk to herself and her family She did so after being taken from
prison without notice and without being advised of her right to have counsel and therefore without assistance of counsel.

Sections l, ll, Ill, IV, and Vll of the Staternent of Reasons form must be completed in all felony cases.

Defendant’s Soc. Seo. No.: 000'00`5940 Date of lmposition of Judgrnent

01/\/08
il w

 

Defendant’s Date of Birth: 00/00/1980

  

 

 

Defendant’s Residence Address: 12 East Pal'k T‘man"`e

 

 

_ Signa of lodge . _
P‘“Sf‘eld» MA 01201 The Hon le Rya W. Zobcl ludge, U.S. District Court
Defendant’s trading Aadress; Name ana rare et

lt ge
SAME Date Signed ii//)dz zl/ 0 y

